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UNITED STATES OF AMERICA
BEFORE THE FEDERAL TRADE COMMISSION

In the Matter of

R.J. REYNOLDS TOBACCO COMPANY,
a corporation

Dacket No. 9285

To: The Honorable James P. Timony
Administrative Law Judge

RESPONDENT'S FINAL WITNESS LIST

Pursuant to the discovery schedule dated December 10, 1997. as modified by the Order of
July 30, 1998, Respondent R.J. Reynolds Tobacco Company (" Reynolds" or “Respondent”) submits
its final witness list. Further in accordance with the July 30, 1998 Order, Reynolds is entitled to file
a supplemental witness list on September 25. 1998.

Zalman Amit, Ph.D.

Zalman Amit is Professor of Psychology at the Center for Studies in Behavioural
Neurobiology at Concordia University, Montreal, Quebec, Canada. Dr. Amit's testimony will
respond to the testimony of the FTC’s expert witnesses. Dr. Amit is expected to testify about the
behavioral and pharmalogical aspects of smoking uptake. dependence, and cessation. Dr. Amit will
address the lack of data to support, and the data which refutes, any claim by the FTC the smokers

under the age of 18 are "addicted" to cigarettes and unable to quit. Dr. Amit’s CV has been marked

RX 328 on the accompanying exhibit list.

DEPOSITION

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J, Howard Beales III, Ph.D.

J. Howard Beales, HI is Associate Professor of Strategic Management and Public Policy at
George Washington University. Washington. D.C. Dr. Beales’ testimony will respond to the
testimony of the Federal Trade Commission's (FTC's) expert witnesses. Dr. Beales will address the
FTC's theories on how and why the Joe Camel campaign causes vouth to begin to smoke or to
continue to smoke. He will also address any data relied upon by the FTC's witnesses.

Dr. Beales’ testimony will discuss his research concerning vouth smoking behavior. He will
discuss the model that he has developed regarding that behavior. Dr. Beales will testif¥ that his
research confirms that neither advertising nor advertising expenditures affect teenage smoking
decisions. Dr. Beales will testifv concerning the risk factors. predictors, and determinants of
underage smoking. He will testify that there is no statistically significant relation between vouth
smoking imitiation and cigarette advertising in general, and no statistically significant relation
between youth smoking and Joe Came! advertising in particular. He will also discuss the evidence
relating to brand-switching.

Dr. Beales may discuss some of the studies in the published literature regarding the asserted
relationship between advertising (including the Joe Camel campaign) and smoking behavior,
including his review of the underlying data, research proposals, and research critiques (when
available),

Dr. Beales will testify about the various allegations that the FTC staff has pursued in its eight
year investigation of the Joe Camel campaign, including the theories advanced and abandoned. He

will discuss his efforts in addressing the FTC theories, as set forth in Reynold’s submissions to the

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FTC and restated in its comments 10 the FDA. Dr. Beales’ Curriculum Vitae ("CV") has been

marked RX 325 on the accompanying exhibit list.

Lvyno J. Beaslev

Ms. Beasley is expected to testify about the development. execution, and eventual withdrawal
of the Joe Camel campaign, and how the campaign successfully repositioned the brand among 18-24
vear old smokers. Ms. Beasley will testify about the specific marketing components of the Joe
Camel campaign, and how significant aspects of Came! marketing were not related to Joe Camel
advertising.

Ms. Beasley will also testify on the topic of Reynolds’ marketing policies and practices. and
how those policies and practices have been followed. Ms. Beasley will testify about Revnolds' direct
marketing and focus group policies. Ms. Beasley's tesumonv will also address particular documenis
relied upon by the FTC and the errors in the FTC's characterization of those documents. Ms.
Beasley will testify to the steps Reynolds took to ensure that Joe Camel! advertisements complied
with company policy, and the steps taken to ensure that the campaign did not appeal
disproportionately to vouth. She will discuss the formation and work of Reynolds’ advertising
review panel. Finallv. Ms. Beasley is expected to testify about the history of the FTC's investigation

of the Joe Camel campaign, the various causal theories adopted and then abandoned by the FTC.

Richard A. Blevins, Jr.
Mr. Blevins will provide the context for and explain the content of documents of which he

has personal knowledge and which are relied upon by complaint counsel.
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Mark R. Bolger
Mr. Bolger will provide the context for and explain the content of documents of which he
has personal knowledge and which are relied upon by complaint counsel,

Carolvn Brinkley

Ms. Brinkley will testify on Reynolds’ youth anti-smoking programs, and the reasons whv
Reynolds elected to undertake these programs.

Diane Burrows

Ms. Burrows’ testimony will address Rewnolds' marketing efforts towards young adult
smokers, aged [8-24. Ms. Burrows will also provide testimony regarding her development of
econometric models and her analvsis of the success of the Joe Camel campaign with voung adult
smokers. Ms. Burrows will testify that retail pack promotions plaved an important role in Camel's
growth among voung adult smokers. Finally, Ms. Burrows will place into context several documents
relied upon by the FTC. and will testify that her actions comphed with policy.

James S. Carpenter

Mr. Carpenter will provide the context for and explain the content of documents of which
he has personal knowledge and which are relied upon by complaint counsel.

Rick T. Caufield

Mr. Caufield will provide the context for and explain the content of documents of which he
has personal knowledge and which are relied upon by complaint counsel.
Alan R. Cox

Mr. Cox will provide the context for and explain the content of documents of which he has
personal knowledge and which are relied upon by complaint counsel.

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Frances Creighton

Ms. Creighton is expected to testify about the development. execution, and eventual
withdrawal of the Joe Camel campaign, and how the campaign successfully repositioned of the brand
among 18-24 year old smokers. In particular, Ms. Creighton is expected to testify regarding
Reynolds' use of focus groups in its advertising and marketing activities, and it adherence to
Reynold's corporate policy in conducting such focus groups. Ms. Creighton is expected to testify
about the results of the focus groups conducted during the development and execution of the Joe
Camel campaign, and how focus groups helped assure Reynolds that its Joe Camel advertising
principally appealed to adult smokers, not to those under 18. Ms. Creighton is also expected to
provide the context for various memoranda regarding the development of the Joe Camel campaign.
Kay Duffy

Ms. Duffy will give the context for and explain the content of documents of which she has
personal knowledge and which are relied upon by complaint counsel.

Jeffrey F. Durgee

Mr. Durgee will provide the context for and explain the content of documents of which he

has personal knowledge and which are relied upon by complaint counsel.

Jobn F. Geweke, Ph.D.

John F. Geweke is Professor of Economics, University of Minnesota. Dr. Geweke is
expected to testify regarding certain studies which attempt to link cigarette advertising and
promotion with cigarette use. Dr. Geweke’s testimony will address the underlying assumptions of

such studies, as well as the validity and robustness of various empirical models. He will test
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alternative specifications of the models, and will address the sensitivity of the models. Dr. Geweke’s
CV has been marked RX434 on the accompanying exhibit list.
Carol Greene

Ms. Greene will provide the context for and explain the content of documents of which she
has personal knowledge and which are relied upon by complaint counsel.

Lawrence Hall

Mr, Hall will give the context tor and explain the content of various memoranda authored
prior to the Joe Camel campaign. Mr. Hail will also testify that his actions complied with Revnolds’
corporate policy.

Randall J. Harden

Mr. Harden will provide the context for and explain the content of documents of which he

has personal knowledge and which are relied upon by complaint counsel.

Lucy L. Henke, Ph.D.

Dr. Henke is a Professor of Marketing at the University of New Hampshire. She has a Ph.D.
in Communications Studies. Dr. Henke’s testimony will respond to the testimony of the FTC's
expert witnesses. Dr. Henke is expected to testify about the way in which children and adolescents
process advertising and the role, if any, that advertising plays in the decisions of children and
adolescents to begin smoking. Her testimony will cover issues addressed and conclusions reported
in her study, Young Children's Perceptions of Cigarette Brand Advertising Symbols: Awareness,
Affect, and Target Market Identification, Journal of Advertising, Vol. XXIV. No. 4 Winter 1995.
Her testimony is also expected to cover issues addressed and conclusions reported in her statement
submitted in connection with the FDA “Regulations Restricting the Sale and Distribution of

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Cigarettes and Smokeless Tobacco Products to Protect Children and Adolescents. Docket No. 9SN-
0253 and 02535. Dr. Henke's's CV has been marked RX+431 on the accompanying exhibit list.
James F, Hind

Mr. Hind will provide the context for and explain the content of documents of which he has
personal knowledge and which are relied upon by complaint counsel.

Michael J. Houston, Ph.D.

Michael J. Houston is the Ecolab/Pierson M. Greve Chair in [nternational Marketing.
Carlson School of Management. University of Minnesota, Dr. Houston's testimony will respond to
the testimony of the FTC's expert witnesses. Dr. Houston is expected to testify on the role of the Joe
Camel advertising campaign in repositioning the Camel brand among 18-24 year old smokers. Dr.
Houston is also expected to testifv about the role of the Joe Camel campaign in Camel's capturing
young adult Marlboro smokers. Dr. Houston ts expected to offer rebuttal testimony to FTC
_ witnesses who testify about the relevance and materiality of Reynolds company documents to any
issues of appeal of Joe Camel advertising and constructive knowledge of Reynolds as to its effect.

Dr. Houston will also testify that based on his review of Reynolds’ corporate documents, the
success of the Joe Camel campaign can be attmbuted to marketing components unrelated to Joe
Camel image advertising, and that it is not possible to isolate the effects of these components. Dr.
Houston's CV has been marked RX 432 on the accompanying exhibit list.

David Iauco

Mr. [auco is expected to testify about the development. execution, and eventual withdrawal
of the Joe Camel campaign, and how the campaign successfully repositioned of the brand among 18-
24 year old smokers. Mr. [auco will testifv about the specific marketing components of the Joe

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Camel campaign. and how important Camel marketing aspects of the campaign were not related to
Joe Camel advertising. Mr. lauco is also expected to testify on Revnolds' corporate policy as well
as actions taken by Reynolds when corporate policy is not tollowed. Mr. lauco will also provide the
context for and explain the content of various Reynolds documents relied upon by complaint
counsel,
James Johnston

Mr. Johnston will provide the context for and explain the content of documents of which he
has personal knowledge and which are relied upon by complaint counsel.

Timothy J. Kev

Mr. Key will provide the context for and explain the content of documents of which he has
personal knowledge and which are relied upon by complaint counsel.

Gerald H. Long

Mr. Long will provide the context for and explain the content of documents of which he has
persona! knowledge and which are relied upon by complaint counsel.

Claude R. Martin Jr., Ph.D-

Claude R. Martin Jr. is the Isadore & Leon Winkelman Professor of Retail Marketing at the
Graduate School of Business Administration, University of Michigan. Dr. Martin's testimony will
respond to the testimony of the FTC's expert witnesses. Dr. Martin is expected to testify conceming
cigarette advertising in general, the etfect of advertising on consumers and consumption; and the
published literature that may bear on the issue of anv relation berween advertising and smoking
behavior. Dr. Martin's testimony will also address his analysis of the published literature relating
to the following topics: advertising recall. econometric studies. the efficacy of tobacco advertising

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bans in other countries, and the factors that bear on the decision to smoke. Dr. Martin mav discuss
the methodology used in these studies as well as the methodology that may be relied upon by the
FTC's witness. Dr. Martin will address the concept of mature products and the role of advertising
within those markets.

Dr. Martin is also expected to contrast access restrictions and other effective means of
reducing underage smoking to advertising bans (shown to be an ineffective means of reducing
underage smoking. Dr. Martin will testify on the changing nature of cigarette advertising in the
context of changing social mores. Dr. Martin's testimony will address the FTC's allegation of the
relation between the Joe Camel campaign and decisions by vouth to begin to smoke, or to continue
“smoking. Dr. Martin’s CV has been marked RX 327 on the accompanying exhibit list.

Donald L. Martin, Ph.D.

Donald L. Martin is Senior Vice President of Glassman-Oliver Economic Consultants, Inc.
Dr. Martin is expected to testify on the validity of certain studies, including Pollay, R.W., etal. "The
Last Straw? Cigarette Advertising and Realized Market Shares Among Youths and Adults, 1979-
1993" J. of Marketing (April 1996) 1-16) and Pierce. J. et al.. "Tobacco Industry Promotion of
Cigarettes and Adolescent Smoking" J. Am. Med. Assn. (1998) 279:7, 511-15) which attempt to link
Cigarette advertising and promotion with youth behavior, Dr. Martin's testimony will address the
underlyfng assumptions of such studies, as well as their validity and robustness. Dr. Martin will use
the underlying data in these studies to test alternative specifications of the models. He will also
address the sensitivity of the models to underlying assumptions and specifications. Dr. Martin's CV

has been marked RX433 on the accompanying exhibit list.
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JoAnn H. Miller

Ms. Miller will provide the context for and explain the content of documents of which she
has personal knowledge and which are relied upon by complaint counsel.

Alicia Nance Mitchell

Ms. Mitchell will provide the context for and explain the content of documents of which she

has personal knowledge and which are relied upon by complaint counsel.

Richard Mizerskti, Ph.D.

Richard Mizerski is Professor of Marketing, Griffith University. Australia. Dr. Mizerski's
testimony will respond to the tesumony of the FTC's expert witnesses. Dr. Mizerski is expected to
discuss his two studies on advertising recognition and future use of cigarettes. His testimony will
address the fact that a delay in the age of onset of smoking is not necessarily related to a reduction
in aduit smoking. Dr. Mizerski will offer testimony on the plausibility of designing a study that will
show the effect of targeted marketing on youth smoking. Dr. Mizerski's testimony will also address
the FTC's theories on how and why the Joe Camel campaign causes vouth to begin to smoke or to
continue to smoke.

Dr. Mizerski will discuss the published literature regarding the asserted relationship between
advertising and youth smoking behavior, including the underlying data, research proposals, and
research critiques (when available). He will also present his analysis of that data, as well as the
research proposals and critiques. Dr. Mizerski will! offer his critique of three articles published in
the Journal of the American Medical Association (JAMA), as well as the underlving correspondence,
proposals, data, and findings of those studies (when available): DiFranza, J.. et al., "RJR Nabisco's
Cartoon Camel promotes Camel Cigarettes to Children." / 4m. ed. 4ssn. (1991) 266:22,3149-53;

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Fischer, P., etal., "Brand Logo recognition by Children Aged 3 to 6 Years: Mickey Mouse and Joe
Camel," J. Am. Med. Assn. (1991) 266:22, 3145-47: Pierce, J.. et al., "Does Tobacco Advertising
target Young People to Start Smoking?" J dm. Med. tssn. (1991) 266:22, 3154-59. Dr. Mizerski’s
CV has been marked RX 326 on the accompanying exhibit list.
Ellen Monahan
Ms. Monahan will provide the context for and explain the content of various memoranda
. authored prior to the Joe Camel campaign. Ms. Monahan will describe the role of the marketing
department at Reynalds.
Jerry Moore
Mr. Moore will provide the context for and explain the content of various memoranda
containing NFO data. Specifically, Mr. Moore will testify that NFO data was collected solely for
Reynolds’ economic forecasting purposes and was not used for marketing strategy purposes. Mr.
Moore will also testify that NFO data on underage smokers was kept in a locked area so that only
persons in long range planning would have access to such information.
Susan Nassar
Ms. Nassar is expected to testify about the development, execution, and eventual withdrawal
of the Joe Camel campaign, and how the campaign successfully repositioned of the brand among 18-
24 year old smokers. In particular, Ms. Nassar is expected to testify regarding Reynolds’ use of
focus groups in its advertising and marketing activities. and it adherence to Reynolds' corporate
policy in conducting such focus groups. Ms. Nassar is expected to testify about the results of the

focus groups conducted during the development and life of the Joe Camel campaign, and how focus

groups helped assure Reynolds that its Joe Camel advertising principally appealed to adult smokers,

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not to those under 18. Ms. Nassar will also testify about for documents upon which the FTC may
rely,

G. Clifton Pennell

Mr. Pennell is expected to testify about the development, execution. and eventual withdrawal
of the Joe Camel campaign, and how the campaign successfully repositioned of the brand among 18-
24 year old smokers. Mr. Pennell will testify about the specific marketing components of the Joe
Camel campaign. and how significant aspects of the campaign were not related to Joe Camel image
adverusing. Mr. Pennell! will testifv that retail promotion plaved a principal role in the progress that
was made by Camel among 18-34 vear old smokers. Finally. Mr. Pennell will provide the context
for and explain the content of documents upon which the FTC may rely.

Walter S, Pritchard

Dr. Pritchard will provide the context for and explain the content of documents of which he
has personal knowledge and which are relied upon by complaint counsel.

Martin H. Redish

Martin H. Redish is Louis and Harnet Ancel Professor of Law, Northwestern University
School of Law. Dr. Redish's testimony will address the constitutional limitations on governmental
regulation of commercial speech. In doing so, Dr. Redish’s testimony will address assertions
contained in the Institute of Medicine Report “Growing Up Tobacco Free" that raise constitutional
issues. Dr. Redish's CV has been marked RX433 on the accompanying exhibit list.

Audrew Schindler
Mr. Schindler is expected to testify about Reynolds’ corporate policy and how it was

followed during the development and life of the Joe Camel campaign. Mr. Schindler's testimony will

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address the import of the FTC's decision in 1994 that the evidence did not support anv possible
violation of FTC law or support any reason to believe that Joe Camel advertising caused youth to
smoke. Finally, Mr. Schindler is expected to testify about why the Joe Camel campaign was
eventually withdrawn.

Steven L. Sauyder

Mr. Snyder will provide the context for and explain the content of documents of which he
has personal knowledge and which are relied upon by complaint counsel.

Claude Teague

Dr. Teague will provide the context for and explain the content of documents of which he
has personal knowledge and which are relied upon by complaint counsel.

Donald Tredennick

Mr. Tredennick will give the context for and explain the content of a memorandum he
authored in July 1974 entitled “What causes smokers to select their first brand of cigarettes." Mr.
Tredennick wiil testify that Reynolds had a very clear policy that the marketing research department
did not interview persons under the age of 18.

Charles A. Tucker

Mr. Tucker will provide the context for and explain the content of documents of which he
has personal knowledge and which are relied upon by complaint counsel.

W. Kip Viscusi, Ph.D.

W. Kip Viscusi is the Cogan Professor of Law and Economics and Director, Program on
Empincal Legal Studies. Harvard Law School, Prof. Viscusi's testimony will respond to the
testmony of the FTC’s expert witnesses. Prof. Viscusi is expected to testify about risk awareness

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and behavior, as well as awareness among underage smokers of risks associated with smoking. He
is expected to testify about the process by which consumers assess risks, including risks that are
called “cumulative” in nature. His testimony will cover the subjects desertbed in his book, Smoking:
Making the Risky Decision (1992), as well as other of his publications assessing risk awareness
among smokers and nonsmokers. His testimony is expected to include explanations of the accuracy
of risk perceptions of smokers and nonsmokers concerning various consequences that have been
associated with smoking. Prof. Viscusi is expected to testify that consumers. including those under
18, generally overestimate health risks allegedly associated with smoking, with teenagers
overestimating the risks by a larger margin than the general population. Prof. Viscusi testimony is
also expected to address risk awareness testimony and evidence offered by the FTC, as well as his
own research in this area. Prof. Viscust’s CV has been marked RX 329 on the accompanying exhibit
list.

Jobn M. Wallace

Mr. Wallace will provide the context for and explain the content of documents of which he

has personal knowledge and which are relied upon by complaint counsel.
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Dated: September 21. 1998

Respectfully subminted.

Si

JAMES F. RILL

JOHN B. WILLIAMS

WILLIAM C. MacLEOD

JOHN E. VILLAFRANCO

COLLIER, SHANNON, RILL & SCOTT. P.L.L.C.
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